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Services, Inc. dba Intermountain Medical Group


                          IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF UTAH, NORTHERN DIVISION


Sara Parada, individually, and as                 Motion for Leave to File Amended
parent/guardian acting for and in behalf of       Pleading and Crossclaim and Supporting
D.P., a minor child,                              Memorandum of Defendants IHC Health
                                                  Services, Inc. dba Utah Valley Hospital
         Plaintiff,                               and IHC Health Services, Inc. dba
vs.                                               Intermountain Medical Group

David Pennington, M.D.; Pennington
Medical Center PLLC dba Pennington
Women’s Center; IHC Health Services,              Case No. 2:21-cv-00534-TS-JCB
Inc. dba Utah Valley Hospital; IHC Health
Services, Inc. dba Intermountain Medical          Judge Ted Stewart
Group; United States of America; Scott R.         Magistrate Judge Jared C. Bennett
Jacob, M.D.; Valley Obstetrics &
Gynecology, P.C. dba Valley Women’s
Health; Sean J. Henderson, D.O.; Bradley
C. Burton, PA-C; Granger Medical Clinic,
P.C.; and Does I-X,

         Defendants.
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        Defendants IHC Health Services, Inc. dba Utah Valley Hospital and IHC Health

Services, Inc. dba Intermountain Medical Group (“IHC Defendants”), by and through counsel

Robert G. Wright, Rafael A. Seminario, and Sean B. Leonard of RICHARDS BRANDT MILLER

NELSON, and pursuant to Federal Rules of Civil Procedure 15(a)(2) and 13(g), submit this

Motion for Leave to File Amended Pleading and Crossclaim and Supporting Memorandum

against David Pennington, M.D.; Pennington Medical Center PLLC dba Pennington Women’s

Center; Sean J. Henderson, D.O.; Bradley C. Burton, PA-C; and Granger Medical Clinic, P.C.

(“These Defendants”).

        IHC Defendants’ Motion should be granted to preserve their right to apportion fault to

These Defendants. IHC Defendants’ motion is timely would not be unduly prejudicial to These

Defendants. IHC Defendants’ Proposed Amended Answer and Crossclaim is attached as

Exhibit 1.

                                    BACKGROUND FACTS

        On September 8, 2021, Plaintiff filed a Complaint alleging medical negligence on the

part of all Defendants. Dkt. 2 - Complaint.

        On August 24, 2022, These Defendants filed Motions for Summary Judgment claiming

that their own experts had not established that These Defendants breached the applicable

standard of care, and that Plaintiff’s experts had not offered expert testimony to the contrary. See

Dkt. 62, 63.

        IHC Defendants now file this Motion for Leave to File Amended Pleading and

Crossclaim for the purpose of preserving their right to allocate fault to These Defendants at a

later stage of the action.


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                                          ARGUMENT

       Leave to amend should be given “freely . . . when justice so requires.” FRCP 15(a)(2). In

evaluating a motion for leave to amend, Utah courts focus on three factors: the timeliness of the

motion, the justification given by the movant for the delay, and any resulting prejudice to the

responding party. Kelly v. Hard Money Funding, Inc., 2004 UT App 44, ¶ 26, 87 P.3d 734

(reversing trial court’s denial of motion to amend); see also Daniels v. Gamma W.

Brachytherapy, LLC, 2009 UT 66, ¶ 58, 221 P.3d 256 (stating that a trial court is not required to

make findings on all three factors).

   1. IHC Defendants’ Motion to Amend is Timely and Justified.

       The IHC Defendants Motion is timely and justified. IHC Defendants did not file a

crossclaim at the time their Answer to the Complaint was filed because such a crossclaim is

typically not necessary for a factfinder to apportion fault among joint tortfeasor codefendants.

Nat’l Serv. Indus., Inc., v. B.S. Norton Mfg. Co., 937 P.2d 551, 556 n.2 (Utah Ct. App. 1997).

IHC Defendants’ crossclaim has only become necessary at this point because These Defendants

have filed Motions for Summary Judgment. See Docket 62, 63. To allow IHC Defendants to

oppose any Motion for Summary Judgment, they must be allowed to amend their Answer and

file a crossclaim against These Defendants. Nat’l Serv. Indus., Inc., at 556 n.2 (“[W]here one

codefendant moves for summary judgment against the plaintiff on the basis that it bears no

liability—any other defendant must file an apportionment cross-claim in order to have standing

to oppose the other codefendant’s motion”). Accordingly, IHC Defendants’ Motion to Amend is

timely and any delay was justified because the necessity did not become clear until Plaintiff’s

Motions for Summary Judgment were filed on August 24, 2022.


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    2. The Amendment and Crossclaim Do Not Prejudice These Defendants.

        Practitioner Defendants will not be unfairly prejudiced by allowing IHC Defendants to

file an Amended Answer and Crossclaim.

       “A primary consideration that a trial judge must take into account in determining whether

leave should be granted is whether the opposing side would be put to unavoidable prejudice by

having an issue adjudicated for which he had not had time to prepare.” Bekins Bar V Ranch v.

Huth, 664 P.2d 455, 464 (Utah 1983). Here, These Defendants have been aware of the facts

underlying IHC Defendants’ crossclaim since the very beginning of this case. They have had

time to prepare their medical negligence defenses from the outset. The allegations in IHC

Defendants’ Crossclaim are really no different from Plaintiff’s allegations in the initial

Complaint, and These Defendants have been preparing the defense of these claims throughout

discovery.

       Moreover, the Fourth Affirmative Defense in IHC Defendants’ original Answer gave all

parties notice that Plaintiff’s allegations pertained to . . .

        the activities of third persons over whom [IHC] Defendants had no duty, control
        or right to supervise including, but not limited to, any other medical provider or
        providers who provided care to Ms. Parada and/or D.P. As part of this affirmative
        defense, [IHC] Defendants allege that discovery may reveal that these and/or
        other health care providers may have failed to appropriately and/or timely
        diagnose and/or treat Ms. Parada and/or D.P. [IHC] Defendants are therefore
        entitled to have the fault of all responsible parties, including but not limited to any
        other medical entity or provider against whom Plaintiff has made any claim,
        compared by the trier of fact pursuant to Utah Code Ann. §§ 78B-5-817 through
        78B-5-821 and any other applicable Utah law. Defendants reserve the right to
        provide further factual and legal bases on which Defendants may allocate fault to
        third parties and reserves the right to amend this affirmative defense as further
        information and evidence becomes available through investigation and discovery.



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      Further, according to the Court’s current Scheduling Order, Dkt. 46, fact discovery does

not close until November 1, 2022, and expert discovery does not close until July 14, 2023. In

other words, all parties have ample time to continue developing their cases, and These

Defendants will not be unfairly prejudiced by allowing IHC Defendants to preserve their right to

apportion damages.

                                      CONCLUSION


       IHC Defendants’ Motion for Leave to File Amended Pleading and Crossclaim should be

granted because it is timely, justified, and does not unfairly prejudice These Defendants.

        Dated this 25th day of August, 2022.

                                                 RICHARDS BRANDT MILLER NELSON


                                                 /s/ Robert G. Wright
                                                 Robert G. Wright
                                                 Rafael A. Seminario
                                                 Sean B. Leonard
                                                 Attorneys for Defendants IHC Health Services,
                                                 Inc. dba Utah Valley Hospital; and IHC Health
                                                 Services, Inc. dba Intermountain Medical Group




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 25th day of August, 2022, I served the foregoing
Motion for Leave to File Amended Pleading and Crossclaim and Supporting Memorandum
of Defendants IHC Health Services, Inc. dba Utah Valley Hospital and IHC Health
Services, Inc. dba Intermountain Medical Group on the persons identified below as indicated:

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                                                     /s/ Penny Edwards

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